Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 1 of 14 PageID 1




                  IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


AUDREY MICHELE PONDER
BASEHEART,

              Plaintiff,                      Civil Action
                                              File No.: 6:21-CV-01018
v.
                                              JURY TRIAL DEMANDED
HUDDLE HOUSE, INC.

              Defendant.

                                  COMPLAINT

      COMES NOW, Plaintiff, Audrey Michele Ponder Baseheart (“Baseheart” or

“Plaintiff”), by and through undersigned counsel, and files this Complaint against

Defendant, Huddle House, Inc. (“Huddle House” or “Defendant”), respectfully

alleging as follows:

                               INTRODUCTION

      1.     This action arises in the context of a former employment relationship

between Plaintiff and Defendant. Plaintiff was discriminatorily terminated by

Defendant for pretextual reasons in violation of the Age Discrimination in

Employment Act of 1947, as amended, 29 U.S.C. § 623 et seq. (“ADEA”).

      2.     Plaintiff was additionally subjected to retaliation by Defendant for

raising concerns of illegal employment practices in violation of the Florida Private

Sector Whistleblower Act, Fla. Stat. § 448.102.
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 2 of 14 PageID 2




                          JURISDICTION AND VENUE

        3.   Plaintiff’s claims present federal questions over which the court has

jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 623. The Court has

supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §

1367.

        4.   Venue is proper pursuant to 29 U.S.C. § 623 and pursuant to 28 U.S.C.

1391 (b) and (c), as every act of which Plaintiff complains occurred in the Orlando

Division of the United States District Court for the Middle District of Florida.

        5.   Plaintiff is a resident of the State of Tennessee and submits herself to

the jurisdiction of this Court.

        6.   Huddle House is a Georgia For-Profit Corporation with its principal

place of business located at 5901-B Peachtree Dunwoody Road, NE, Atlanta,

Georgia 30328. Huddle House may be served through its registered agent in Florida

to wit: Corporation Service Company, 1201 Hays Street, Tallahassee, Florida 32301.

        7.   At all times relevant to Plaintiff’s claims, Defendant employed 20 or

more employees for each working day in at least 20 or more calendar weeks,

including Plaintiff.

        8.   Plaintiff has satisfied all conditions precedent to filing this action,

including filing a Charge of Discrimination with the United States Equal

Employment Opportunity Commission (“EEOC”) and receiving her Notice of Right


                                          2
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 3 of 14 PageID 3




to Sue (“Notice”) within ninety (90) days of the filing of this action. A true and

correct copy of Plaintiff’s Notice is attached hereto as Exhibit “A.”

                           FACTUAL ALLEGATIONS

      9.     Plaintiff is a sixty-four (64) year old woman that first became employed

by Perkins Restaurants, LLC (“Perkins”) in or about October 23, 2006 as a Human

Resources Manager in its Orlando, Florida office.

      10.    Plaintiff worked out of the Orlando office throughout her employment

with Perkins and her subsequent employment with Huddle House, when Huddle

House purchased Perkins.

      11.    Plaintiff was promoted to Senior Human Resources Manager in April

2008. At all times material to Plaintiff’s employment, Plaintiff performed her duties

diligently and accordance with standards and procedures set forth by the company.

      12.    In or about August 2019, Perkins was purchased by Huddle House and

Michael Abt (“Abt”), Jim Frank (“Frank”), and Marilyn Leister (“Leister”) were in

charge of the transition that Huddle House was undertaking after its purchase of

Perkins.

      13.    On or about September 12, 2019, Mr. Abt sent company-wide email

correspondence informing employees that Huddle House and Perkins would be

combining and assured the employees that there would be fairness in the job offer

process and candid discussions with employees who were interested in joining the


                                          3
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 4 of 14 PageID 4




Huddle House team in its Atlanta Offices. A true and correct copy of Mr. Abt’s email

is attached hereto as Exhibit “B.”

      14.    Mr. Abt’s September 12, 2019, correspondence further assured

employees that the Huddle House executive team would meet with each employee

personally to better understand each employee’s history and contributions to Perkins

and to ascertain whether the employee was interested in joining the Huddle House

team in Atlanta. See Exhibit “B.”

      15.    On or about September 18, 2019, Mr. Abt held a team meeting at

Huddle House’s Memphis office with all support personnel from the Minneapolis

and Orlando offices via conference call wherein Mr. Abt stated that the full transition

from Perkins to Huddle House would take approximately six (6) to eight (8) months.

      16.    Mr. Abt further stated that the entirety of the operations would

eventually be based out of Atlanta and that Huddle House would be offering

relocation assistance to its employees. In this conference call, Mr. Abt led each

employee to believe that their willingness to relocate to Atlanta would be considered

in Huddle House’s job offer consideration.

      17.    Later, in September 2019, Plaintiff met with her supervisor, Jackie Aho

(“Aho”), who informed Plaintiff that Ms. Leister, Mr. Abt, and other members of

Huddle House’s executive team would be visiting the Minneapolis offices to meet

with employees and would be scheduling phone conferences with Plaintiff, Melissa


                                          4
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 5 of 14 PageID 5




Bending (“Bending”), Craig Story (“Story”), and Nicole Kunza (“Kunza”).On or

about September 28, 2019, Plaintiff was informed that the Huddle House executive

team scheduled phone calls with Ms. Bending, Mr. Story, and Ms. Kunza, yet no

one from Huddle House’s Executive team reached out to Plaintiff to schedule a

phone conference.

      18.    When Plaintiff informed Ms. Aho that she was concerned that she was

not offered a phone conference with Mr. Abt like her younger colleagues, Ms. Aho

stated that she would try to determine the reason Plaintiff was not scheduled. Ms.

Aho later informed Plaintiff that she believed Plaintiff’s name had been misspelled

and she would ensure that Plaintiff was scheduled for a call with the executive team.

      19.    On October 7, 2019, Ms. Aho sent email correspondence to the Huddle

House executive team outlining Plaintiff’s specific job duties and expertise and

noted that Ms. Bending, who had already been interviewed, was Plaintiff’s

understudy. Mr. Abt and Ms. Leister were made aware that Plaintiff was far more

experienced and qualified in human resources than Ms. Bending prior to scheduling

Plaintiff’s phone conference with Huddle House’s executive team.

      20.    On October 9, 2019, Plaintiff had a phone conference with Ms. Leister

which was less than forty-five (45) minutes in duration. Throughout Plaintiff’s

conversation with Ms. Leister, she seemed preoccupied and disinterested in anything

that Plaintiff had to say.


                                         5
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 6 of 14 PageID 6




      21.    Ms. Leister made no attempt to build rapport with Plaintiff during her

call, and despite being fully apprised of Plaintiff’s knowledge and experience in

human resources, Ms. Leister only asked Plaintiff one knowledge-based question. It

was apparent by Plaintiff’s conversation with Ms. Leister that she had no interest or

intent to give Plaintiff fair consideration.

      22.    On October 10, 2019, Plaintiff had a phone conference with Mr. Abt

which last approximately forty-five (45) minutes. Plaintiff made it very clear to Mr.

Abt that she was ready and willing to move to Atlanta to continue to be an asset in

the Huddle House’s human resources department. It was apparent from Mr. Abt’s

demeanor at the end of the phone interview that this was simply a formality and the

decision to hire Plaintiff’s much younger and inexperienced understudy had already

been made.

      23.    During Plaintiff’s phone interview with Mr. Abt, she further explained

that she believed the culture of the company moving forward could be more inclusive

and less negative for its employees. Plaintiff further recommended that Mr. Abt have

a one-on-one conversation with each of the regional managers to allow Mr. Abt to

learn about each regional manager’s previous experiences working with Plaintiff to

further validate her experience and expertise.




                                               6
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 7 of 14 PageID 7




      24.      Mr. Abt responded to Plaintiff’s feedback stating that he did not believe

the company was broken and further led the Plaintiff to believe that there would be

minimal personnel changes in Huddle House’s acquisition of Perkins.

      25.      On or about October 19, 2019, plaintiff received an email with a letter

attached stating that Plaintiff would no longer have a job with the company as of

December 31, 2019, and that her salary would be decreased for the remainder of her

employment. A true and correct copy of Plaintiff’s termination letter is attached

hereto as Exhibit “C.”

      26.      Although Plaintiff’s salary decreased was corrected after Plaintiff

complained to Ms. Aho, Plaintiff’s employment was still set to be terminated at the

end of 2019.

      27.      When the news of Plaintiff’s termination became known, a regional

manager commented that at Plaintiff’s age, she did not fit the company’s “glamour

shot image.”

      28.      On the same day, Plaintiff was contacted by multiple colleagues who

were concerned about the threat of losing their healthcare coverage if they did not

sign a Non-Disclosure Agreement (“NDA”) that was previously sent by the Huddle

House executive team at the initial meeting to discuss combining Perkins and Huddle

House.




                                            7
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 8 of 14 PageID 8




       29.    After multiple conversations with Plaintiff’s colleagues regarding their

concerns and as part of Plaintiff’s duties as a Human Resources Director, Plaintiff

drafted email correspondence to Mr. Abt outlining the various concerns regarding

the NDA and other policies sent to employees regarding the transition from Perkins

to Huddle House. A true and correct copy of Plaintiff’s correspondence to Mr. Abt

is attached hereto as Exhibit “D.”

       30.    Plaintiff’s correspondence also inquired as to why Plaintiff’s much

younger and inexperienced understudy was offered a position with Huddle House

over Plaintiff. Id.

       31.    Plaintiff’s correspondence further requested that she be allowed to

relocate as soon as possible to procure employment elsewhere. Plaintiff requested

permission to work remotely while she procured subsequent employment and

housing outside of the Orlando area.

       32.    Plaintiff informed Mr. Abt and other members of Huddle House’s

executive team that she had approximately ten (10) years left to work before she

planned to retire, and she needed to maximize the time she had to secure new

employment.

       33.    On or about October 22, 2019, Mr. Abt responded to Plaintiff’s

correspondence but did not respond to Plaintiff’s request to work remotely or her

request to relocate as soon as possible, leaving Plaintiff no choice but to stay in the


                                          8
 Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 9 of 14 PageID 9




Orlando area until the last day of her employment. Plaintiff was denied the same

accommodations that had been afforded to her younger colleagues.

       34.   Importantly, Ms. Bending, Plaintiff’s younger and less experienced

understudy, was allowed to work remotely from Wisconsin and continued to do so

when she was chosen to remain in the position Human Resources Manager over

Plaintiff.

       35.   Upon information and belief, Plaintiff was denied the ability to work

remotely and to relocate early as retaliation for her reporting of what she considered

to be serious concerns of employee intimidation during the transition process from

Perkins to Huddle House.

       36.   On November 6, 2019, Plaintiff received a letter via United States

Postal Service (“USPS”) which was dated October 22, 2019 and signed by Ms.

Leister stating that Plaintiff’s last day of work could be anywhere from December

24, 2019, through the fourteen (14) days to follow which was in contradiction of the

first letter provided to Plaintiff in September 2019. A true and correct copy of Ms.

Leister’s correspondence to Plaintiff is attached hereto as Exhibit “E.”

       37.   Ms. Leister was also aware of Plaintiff’s concerns regarding Huddle

House’s attempted intimidation of employees, and, upon belief, Ms. Leister’s

correspondence was further retaliation for Plaintiff’s whistleblowing activities.




                                          9
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 10 of 14 PageID 10




      38.    On or about November 7, 2019, Plaintiff emailed Mr. Abt informing

him of the letter received from Ms. Leister. Plaintiff informed Mr. Abt that she

believed Ms. Leister’s correspondence was in retaliation for her previous

whistleblowing activities regarding the NDAs sent to employees.

      39.    Plaintiff further requested that Mr. Abt provide her with a precise date

for the termination of her employment to allow Plaintiff to secure subsequent

employment and housing.

      40.    On November 10, 2019, Ms. Aho sent correspondence to Plaintiff

stating that Plaintiff’s employment would be terminated as of December 31, 2019.

      41.    On November 12, 2019, Plaintiff had a conversation with Ms. Aho

regarding her concerns of retaliation from Ms. Leister and Ms. Aho averred that Ms.

Leister knew nothing of the November 6, 2019, letter received by Plaintiff even

though Ms. Leister’s signature was on the letter.

      42.    At the time of the transition from Perkins to Huddle House, Plaintiff

was the most experienced employee in the Human Resources Department and the

only employee in that department willing to relocate to Atlanta to accommodate

Huddle House’s needs.

      43.    Despite Plaintiff’s longstanding history with Perkins and her extensive

experience in Human Resources, Plaintiff was terminated and denied a follow-on

position with Huddle House upon the merger of the two companies.


                                         10
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 11 of 14 PageID 11




      44.    Instead, Plaintiff’s younger and less experienced understudy was given

the position which Plaintiff held for over thirteen (13) years, despite Huddle House

being fully apprised of Plaintiff’s knowledge, experience, and skills.

      45.    Plaintiff’s termination was discriminatory as it was based on her age

and she was replaced by a younger employee.

      46.    Plaintiff was further retaliated against as a result of her reporting issues

of employee intimidation and other potentially unlawful employment practices to

Mr. Abt and Ms. Leister.

      47.    Huddle House did not have a legitimate reason to terminate Plaintiff’s

employment or retaliate against her in any manner.

      48.    Huddle House’s actions are in violation of 29 U.S.C. § 623 and Fla.

Stat. § 448.102.

      49.    As a result of Huddle House’s discriminatory and retaliatory conduct,

Plaintiff has been damaged, suffered emotional distress, and had no choice but to

hire counsel to vindicate her rights.

      50.    Plaintiff has retained the undersigned legal counsel to prosecute this

action on her behalf and had agreed to pay counsel a reasonable fee for their services.

      51.    Plaintiff is entitled to reasonable attorney’s fees if she is the prevailing

party in this action.




                                          11
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 12 of 14 PageID 12




                                COUNT I
                  VIOLATION OF THE ADEA – 29 U.S.C. § 623

         52.   Plaintiff incorporates Paragraphs 1-51 by reference as if fully set forth

herein.

         53.   Huddle House is an employer with the meaning of the ADEA.

         54.   Plaintiff is a member of a protected class (over forty (40) years of age).

         55.   Plaintiff was qualified for her position at the time of her termination.

         56.   Huddle House took adverse employment actions against Plaintiff,

including terminating her employment without justifiable cause and replacing

Plaintiff with a younger, less experienced colleague.

         57.   Plaintiff at all times performed her duties owed to Huddle House

faithfully and in accordance with applicable standards.

         58.   Huddle House treated Plaintiff’s younger colleague more favorably

than Plaintiff due to the fact that she was significantly younger than Plaintiff.

         59.   Plaintiff was terminated because of her age.

         60.   Huddle House’s conduct alleged in this Complaint was willful and

intentional.

         61.   As a direct result of Huddle House’s actions, Plaintiff has suffered lost

wages, future income, opportunities for advancement, and other pecuniary and non-

pecuniary damages (including emotional harm), all in amounts to be determined at

trial.
                                           12
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 13 of 14 PageID 13




                              COUNT II
                    RETALIATION - FLA. STAT. § 448.102

      62.    Plaintiff incorporates Paragraphs 1-51 by reference as if fully set forth

herein.

      63.    Plaintiff objected to and refused to participate in an activity, policy, or

practice of Huddle House which was in violation of a law, rule, or regulations, as set

forth more fully above.

      64.    Plaintiff objected to Huddle House’s threat and intimidation of

employees relating to the NDAs and additional policies established as a result of the

combining of Perkins and Huddle House.

      65.    As a direct and proximate result of Plaintiff’s protected activity under

the Florida Whistleblower Act, and the adverse employment action that Huddle

House took against Plaintiff because of Plaintiff’s protected activity, Plaintiff has

been damaged.

      66.    Plaintiff’s damages include back pay, front pay, loss of benefits, future

pecuniary loss, lost future earnings capacity, emotional pain, suffering and mental

anguish, and other non-pecuniary losses.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following:

      a.     Judgment in Plaintiff’s favor and against Huddle House under all

counts in this Complaint;
                                          13
Case 6:21-cv-01018-RBD-LRH Document 1 Filed 06/14/21 Page 14 of 14 PageID 14




      b.     Award any and all incidental and consequential damages incurred by

Plaintiff as a result of Defendant’s unlawful conduct;

      c.     Compensatory damages, general and special;

      d.     Pecuniary and non-pecuniary damages, including emotional harm;

      e.     Punitive damages for Defendant’s willful and intentional conduct;

      f.     Attorney’s fees and all other fees and costs associated with this action;

      g.     Pre-judgment interest; and

      h.     Such other and further relief as this Court deems just and proper.

                       DEMAND FOR TRIAL BY JURY

      Plaintiff hereby demands a trial by jury on all issues herein so triable.

      Respectfully submitted this 14th day of June 2021.

                                               /s/Mark L. Bonfanti______
                                               Mark L. Bonfanti
                                               Florida Bar No. 0010185
                                               mbonfanti@hgrslaw.com
                                               Jennifer K. Sniadecki
                                               Florida Bar No. 1010134
                                               jsniadecki@hgrslaw.com
                                               HALL, GILLIGAN
                                               ROBERTS & SHANLEVER LLP
                                               1241 Airport Road, Suite A
                                               Destin, Florida 32540
                                               Telephone: (850) 502-2004
                                               Facsimile: (404) 537-5555
                                               Counsel for Plaintiff




                                          14
